      Case 1:09-cv-00416-MCA-DJS Document 14 Filed 06/30/09 Page 1 of 1


                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO



JOSE JIMENEZ,

              Plaintiff,

vs.                                                               No. CIV-09-416 MCA/DJS

SMITH & NEPHEW, PLC, et al.,

              Defendants.


                      ORDER ADOPTING JOINT STATUS REPORT
                        AND PROVISIONAL DISCOVERY PLAN

        THIS MATTER comes before the Court upon a Rule 16 Initial Scheduling Conference.
Following a review of the parties’ Joint Status Report and Provisional Discovery Plan (Docket
No. 6), the Court adopts the Joint Status Report and Provisional Discovery Plan as modified by
the dates designated in the Court’s Scheduling Order.

       IT IS SO ORDERED.




                                            ______________________________________
                                            DON J. SVET
                                            UNITED STATES MAGISTRATE JUDGE
